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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

DARRELL ROGERS, individually,
and on behalf of all others similarly situated,

       Plaintiff,

vs.                                                                 Case No. 1:18-cv-01567

VIVINT SOLAR, INC., et al.,

      Defendants.
_____________________________________/

                       JOINT MOTION FOR FINAL APPROVAL OF
                            CLASS ACTION SETTLEMENT

                                         and incorporated

                                   MEMORANDUM OF LAW

       Plaintiff, Darrell Rogers, individually and on behalf of the Settlement Class defined

herein (hereinafter “Plaintiff” or “Representative Plaintiff”), and Defendants, Vivint Solar, Inc.,

Vivint Solar Holdings, Inc., and Vivint Solar Developer, LLC (collectively, “Defendants”)

(together the “Parties”), hereby move the Court for final approval and entry of the Settlement

Agreement (hereinafter “Agreement”) (D.E. 32-1), agreed to by the Parties in this matter, and

preliminarily approved by this Court.1

       As more fully detailed herein, the reaction of the Settlement Class subsequent to

preliminary approval indicates an excellent result – the Parties received nearly 40,000 valid

claims and zero (0) objections – and the Parties submit that this reaction, among other factors,



1
  On December 2, 2019, this Court granted preliminary approval of the Agreement, and certified
the Settlement Class as defined herein pursuant to Federal Rules of Civil Procedure 23(a) and
(b)(3) (“Updated Preliminary Approval Order”). See Updated Preliminary Approval Order, D.E.
33 at ¶ 7 (“The Settlement Agreement is incorporated by reference into this Order and is hereby
preliminarily adopted as an Order of this Court.”).
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supports a finding that the Agreement constitutes a fair, reasonable, and adequate resolution for

the Plaintiffs, the Parties and the Settlement Class. In support of this Motion, the Parties state as

follows:

                                     I.     BACKGROUND

       Plaintiff brought this action, individually and on behalf of a group of similarly situated

persons, alleging that Defendants violated the Telephone Consumer Protection Act (“TCPA”),

and the regulations promulgated under the TCPA, by using an automatic telephone dialing

system (“ATDS”), an artificial voice, or a prerecorded voice when they called Plaintiff and the

putative class members in order to promote their solar energy business without obtaining Prior

Express Written Consent; or by calling Plaintiff and other putative class members on the

National Do-Not-Call Registry to promote their solar energy business without obtaining

Requisite Do-Not-Call Permission.

       Specifically, Plaintiff contends that wide-ranging investigation and discovery has

established that, in order to streamline the time-consuming process of door-to-door sales, certain

individual sales representatives contracted with an overseas lead generation company, Virtual

Sales Solutions (“VSS”), and placed unsolicited robocalls from a now-defunct call center in the

Philippines to individuals in the United States. See Exhibit 1, Heller Decl. at ¶ 4. These

robocalls were intended to solicit interest in solar energy, and to set appointments with potential

customers with Defendants’ sales representatives who paid VSS for the service, without initially

disclosing Defendants’ identity. Id. Plaintiff further contends that discovery establishes that

Defendants’ employees were involved in many facets of VSS’s marketing efforts including

selecting the zip codes to which calls were placed, mandating the times and dates during which

sales appointments could be set, dictating the prequalification information that VSS’s agents




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were to obtain from the called parties, and helping to generate the information used in the

robocalling scripts. Id. at ¶ 5. Plaintiff contends that this discovery has produced unique

identifying information for approximately 66,000 individuals who were called by VSS on behalf

of Defendants during a specific time frame for which records were still available, and which

included the calls made to the Representative Plaintiff. Id. at ¶ 9. Finally, Plaintiff contends that

there is substantial evidence that VSS placed calls for Defendants’ sales representatives in

geographic regions outside of the Representative Plaintiff’s, and that other third-party lead

generators may have made additional robocalls on behalf of Defendants’ sales representatives as

well. Id. at ¶ 5.

        Defendants vigorously deny these allegations, deny all liability for the claims made in the

litigation, and further deny violating the TCPA or the regulations promulgated under the TCPA.

Id. at ¶ 18. Specifically, Defendants deny that VSS or any other third-party lead generators had

actual or apparent authority to place calls on Defendants’ behalf, and further deny that

Defendants would have liability for the actions of those sales agents who used such lead

generation services, or that those sales agents would have liability for VSS’s telemarketing

practices.   Id.    Finally, Defendants allege that discovery has established that Defendants’

corporate policies expressly prohibit the use of outside lead generation, and that if Defendants’

sales agents utilized VSS’s telemarketing services, they did so without Defendants’ knowledge

or consent. Id.

        The litigation has been intensive and hard-fought, has included extensive investigation

into Plaintiff’s allegations and has had nearly a full year of discovery, including the exchange of

documents, preparation and responses to requests for production of documents and

interrogatories, subpoenas on multiple relevant third parties, the deposition and informal




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interview of dozens of current and former representatives of Defendants, as well as multiple

briefed and litigated discovery disputes that were heard by this Court over the course of the past

year. Id. at ¶ 8.

        At the same time, the Parties simultaneously engaged in arms’ length negotiations for a

comprehensive resolution of this litigation. Id. at ¶ 10. These negotiations included months of

informal settlement discussions between counsel, followed by a formal, all-day mediation in

Chicago on July 23, 2019, before a retired judge who the Parties selected specifically because of

his significant experience regarding the settlement of claims brought under the TCPA (Hon.

Morton Denlow of the mediation firm JAMS). Id. The formal mediation was followed by

several months of continuing negotiations between counsel. Id. As a result of these significant

efforts, the Parties reached a framework for resolution believed by them to be a fair resolution of

this dispute, primarily by the creation of a non-reversionary common fund of $975,000 from

which claims, administration costs, attorneys’ fees, and an incentive award to the Representative

Plaintiff would be paid, as well as a substantial and far-reaching notice plan designed to reach as

many potential Settlement Class members as possible. Id. at ¶ 12.

        As set forth more fully herein, the Agreement is exceedingly fair. Given the regulatory

and legal uncertainty surrounding certain aspects of the underlying TCPA statute and its

implementing regulations, in addition to Defendants’ agency arguments, Plaintiff acknowledges

that he faced complex and potentially significant hurdles at class certification, summary

judgment and/or trial. Given these challenges, coupled with the ability and willingness of

Defendants to continue their vigorous defense, the Agreement provides certain recovery for the

Settlement Class, and is in the best interests of the Settlement Class as a whole.




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        Finally, as further support for the reasonableness of the Agreement, this settlement was

reached only after substantial litigation, discovery, and arms-length negotiations between

experienced counsel, with the guidance and assistance of a well-respected mediator with

significant experience regarding the litigation and settlement of claims brought under the TCPA.

As such, the Agreement strikes a reasonable balance between: the certain monetary benefit the

Settlement Class will receive under this settlement, the fact that Defendant will vigorously

oppose the claims asserted in the litigation if the settlement is not approved, and the attendant

risks, costs, uncertainties, and delays of litigation.

        The Parties agree that the Agreement constitutes a fair, reasonable, and adequate

resolution for the Plaintiff and the Settlement Class, pursuant to Rule 23(e)(2) of the Federal

Rules of Civil Procedure, and the terms of the resolution, as set forth in the preliminarily

approved Agreement, are in the best interests of the Parties. The Parties therefore request that

the Court enter a Final Order and Judgment: (1) granting final approval of the Agreement; (2)

certifying the Settlement Class as defined in the Agreement; and (3) entering an Order and Final

Judgment, and dismissal of the litigation.2

                    II.     SUMMARY OF SETTLEMENT AND NOTICE

        A.      The Settlement Class

        The settlement has been reached on behalf of the “Settlement Class,” which is defined as

follows:

        All persons and entities whose telephone numbers were called by third parties that
        marketed solar energy products and services on behalf or for the benefit of Defendants on
        or after July 1, 2014 where:

                (1) The third-party initiated a call using an artificial voice, or a


2
 A proposed final order approving settlement, in the form approved by the Parties, is attached for
the Court’s convenience and consideration as Exhibit 3.

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                 prerecorded voice, to (i) advertise the commercial availability or
                 quality of any property, goods, or services; or encourage the purchase
                 or rental of property, goods, or services; (ii) where such persons’ and
                 entities’ telephone numbers were assigned to a cellular phone service or
                 residential line; and (iii) where the third-party failed to obtain Prior
                 Express Written Consent from those persons and entities called; or

                 (2) The third-party initiated a call using an ATDS to (i) advertise the
                 commercial availability or quality of any property, goods, or services;
                 or encourage the purchase or rental of property, goods, or services; (ii)
                 where such persons’ and entities’ telephone numbers were assigned to a
                 cellular phone service; and (iii) where the third-party failed to obtain
                 Prior Express Written Consent from those persons and entities called;
                 or

                 (3) The third-party initiated more than one call within a 12-month
                 period (i) to persons and entities who were registered with the National
                 Do-Not-Call Registry for at least 30 days prior to being called; (ii)
                 encouraging the purchase or rental of property, goods, or services; (iii)
                 where such persons’ and entities’ telephone numbers were assigned to a
                 cellular phone service; and (iv) where the third-party failed to obtain
                 Requisite Do-Not-Call Permission from those persons and entities
                 called.


          The calls referenced in the class definition shall be collectively referred to as “Covered

Calls.”

          Excluded from the Settlement Class are Defendants, any parent, subsidiary, affiliate or

controlled person of Defendants, as well as the officers, directors, agents, servants or employees

of Defendants and the immediate family members of such persons, the named counsel in this

litigation, and any member of their office and/or firm.

          B.     Benefits to Class Members

          Defendants, solely for the purposes of settlement and without admitting or conceding any

fault, wrongdoing or liability, and in order to avoid the inconvenience and expense of further

litigation, agreed to the establishment of a non-reversionary $975,000 common fund that will be

used to make class member claimant payments, and to pay notice and administration costs,



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attorneys’ fees, costs, and expenses, and an incentive award to the Representative Plaintiff

(“Settlement Fund”).

       Once the Parties have obtained final approval from this Court, and the time for appeal has

passed or the settlement is finally approved on appeal, the Settlement Administrator will provide

each member of the Settlement Class who has submitted a timely and valid claim form with a

pro rata distribution of the Settlement Fund, in accordance with the Agreement. The Parties

received an excellent response from the Settlement Class in reaction to settlement (40,000 valid

claims and 0 objections), and as discussed more fully below, both the final claims rate and final

class relief mirrors those approved by courts in analogous TCPA cases, and should be similarly

approved here.

       C.        Notice

       Pursuant to this Court’s Updated Preliminary Approval Order, the Settlement

Administrator successfully provided notice of the settlement to Settlement Class members

through both robust nationwide and publication notice, as well as through direct notice that was

sent by first-class U.S. Mail to those identifiable from records obtained in discovery. See Rogan

Decl., Exhibit 2.

       i.        Direct Notice

       With regards to direct notice, on December 9, 2019, the Settlement Administrator caused

the Postcard Notice, appended as Exhibit 2-C hereto, to be printed and mailed to the 65,979

names and mailing addresses that were identifiable from limited records obtained in discovery

(the “Direct Notice Class List”).    Id. at ¶ 6.   The Postcard Notice provided these known

Settlement Class Members with a proof of claim form to be returned by Settlement Class

members in order to qualify for payment, directed Settlement Class members to a website




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application where they could alternatively submit a proof of claim form in order to qualify for

electronic payment, and provided contact information for toll-free customer service support. See

Exhibit 2-C (“Postcard Notice”).

       For those Settlement Class Members whose initial Postcard Notice was returned by the

USPS with forwarding addresses, the Settlement Administrator immediately caused the Postcard

Notice to be re-mailed to the forwarding addresses supplied by the USPS. See Ex. 2 at ¶ 7. For

those Settlement Class Members whose initial Postcard Notice was returned by the USPS with

undeliverable addresses, the Settlement Administrator performed address searches through credit

bureau and/or other public source databases, and promptly re-mailed the Postcard Notice to all

newly found addresses. Id. at ¶ 8.

       ii.     Media and Publication Notice

       With regards to the Settlement Administrator’s robust, nationwide media and publication

notice program, the Settlement Administrator purchased 340 million impressions to be

distributed via Google Display Network and Facebook. Id. at ¶ 9. These impressions targeted

adults 18 years of age and older, and appeared on both mobile and desktop devices from

December 9, 2019, through February 7, 2020. Id. A total of over 343 million impressions were

delivered and distributed. Id.     Screenshots of the internet banner notices as they appeared on

various websites are appended as Exhibit 2-E hereto. Id.     Additionally, on December 9, 2019,

the Settlement Administrator caused an informational press release, appended as Exhibit 2-F

hereto, to be issued to press outlets nationwide via PR Newswire. Id. at ¶ 10.

       iii.    Settlement Website and Telephone Hotline

       In addition to the above, on or about December 9, 2019, the Settlement Administrator

established a website at www.VivintSolarTCPASettlement.com, dedicated to this matter to




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provide information to the Class Members. Id. at ¶ 11. The Settlement Website provided Class

Members with downloadable case documents, including the detailed, long form notice (attached

as Exhibit 2-D hereto), the ability to submit online claims for electronic payment, frequently

asked questions with responses, contact information for Class Counsel and the Settlement

Administrator, and other pertinent information. Id.       Links to the Settlement Website were

provided in the Postcard Notice, Long Form Notice, Claim Form, and in the advertisements

delivered through the Settlement Administrator’s nationwide media and publication notice

program.     As of the date of this Motion, the website has received 113,472 visits from 87,896

users. Id.

       The Settlement Administrator has also established and continues to maintain a toll-free

telephone number for potential Class Members to call and obtain information about the

settlement, request a notice packet, and/or seek assistance from a live operator during regular

business hours. Id. at ¶ 12. The Settlement Telephone Hotline became operational on December

9, 2019, and is accessible 24 hours a day, 7 days a week. Id. As of the date of this Motion, the

Settlement Administrator has received a total of 122 calls to the Settlement Telephone Hotline.

Id.

       iv.     CAFA Notification

       Pursuant to this Court’s Updated Preliminary Approval Order, and in compliance with

the Class Action Fairness Act (“CAFA”), 28 U.S.C. Section 1715, on November 15, 2019, the

Settlement Administrator caused fifty-nine (59) CAFA Notice Packets to be mailed via Priority

Mail to the U.S. Attorney General, the Attorneys General of each of the 50 states and the District

of Columbia, the Attorneys General of the 5 recognized U.S. Territories, as well as parties of

interest to this action. Id. at ¶ 3. A copy of the cover letter is appended as Exhibit 2-A hereto.




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As of the date of this Motion, the Settlement Administrator has received no response from any of

the recipients of the CAFA Notice Packet. Id. at ¶ 4.

       iv.     Reaction of the Class

       The reaction of the Settlement Class subsequent to preliminary approval supports

approval.    The Parties received 39,891 timely, valid, and non-fraudulent claims and zero

objections. Id. at ¶¶ 16, 18. As discussed more fully below, this claims rate exceeded the

Settlement Administrator’s (and thus the Parties’) original estimate for claims, is above the

acceptable range for claims submissions in other TCPA cases, including those seen by the

Settlement Administrator, and is supported by the relevant law, indicating an excellent reaction

by the Settlement Class.

       Finally, the Settlement Administrator received only two (2) requests for exclusion

(attached as Exhibit 2-G hereto), and zero (0) objections to the settlement. Id. at ¶¶ 17-18.

       D.      Release of Claims

       Subject to final approval by this Court, the Released Parties shall be released from the

claims of the Releasing Parties in accordance with the terms of the Agreement.

       E.      Incentive Award and Attorneys’ Fees

       Subject to final approval by this Court, the Parties have agreed that the Class Settlement

Fund shall also be used to pay (a) an Incentive Award to the Representative Plaintiff in the

amount of $20,000.00, in compensation and in recognition of his efforts on behalf of the

Settlement Class; and (b) attorneys’ fees to Class Counsel in the amount of $325,000.00, an

amount equal to one-third of the Settlement Fund, in addition to $27,445.70 in reasonable

litigation costs and expenses. As discussed more fully below, these payments are consistent with

the nationwide standard in similar class settlements, and should be similarly approved here.




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       F.      Court Adoption and Jurisdiction

       The Agreement is contingent upon entry of an order giving approval to the terms of the

Agreement. If the Court refuses to grant approval and/or modifies any of the terms of the

Agreement, or if the Court’s Final Order is reversed or materially modified on appeal, then the

attached Agreement shall be terminated (unless the Parties agree otherwise in writing) and

neither the fact that the Agreement was made nor any stipulation, representation, agreement or

assertion made in the attached Agreement may be used against any Party.

       The Parties further agree that the Court shall retain continuing jurisdiction over this

Action and the Parties, including all of the Settlement Class Members, the administration and

enforcement of the attached Agreement, and the benefits to the Settlement Class. Any dispute or

controversy with respect to the interpretation, enforcement, or implementation of the attached

Agreement shall be presented by motion to the Court and determined by the Court.

                              III.    FINAL COURT APPROVAL

       A.      The Settlement Class Should be Certified Pursuant to FRCP 23

       Rule 23(e), Federal Rules of Civil Procedure, requires judicial approval for any

compromise of claims brought on a class basis. Before certifying a class for the purposes of

settlement, this Court must find that the Parties have established the criteria set out in Rule 23(a),

and at least one of the subsections of Rule 23(b).          The Court conditionally certified the

Settlement Class in its Preliminary Approval Order.3



3
  See Updated Preliminary Approval Order, D.E. 33 at ¶ 3 (“The Court finds that this conditional
class certification is appropriate because (a) the Settlement class is so numerous that joinder of
all members is impractical, (b) there are common questions of law and fact that predominate over
any questions affecting only individual class members, (c) Plaintiff’s claims are typical of the
claims of the class, (d) Plaintiff and its counsel will fairly and adequately protect the interests of
the Settlement Class, and (e) a class action is the superior method for resolving this controversy,
given the nature and small size of the class members’ individual claims and their lack of interest

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       B.      The Agreement is Fair, Reasonable and Adequate

       In addition to Rule 23’s requirements, the court must also make a determination on the

fairness, reasonableness and adequacy of the settlement terms.           Approval of a proposed

settlement is a matter within the broad discretion of the district court. See Richardson v. L’Oreal

USA, Inc., 2013 WL 3216061, *2 (D.D.C. Jun. 27, 2013) (quoting In re Vitamins Antitrust Litig.,

No. 99-197, 1999 WL 1335318, at *5 (D.D.C. Nov. 23, 1999)). See also Hubbard v. Donahoe,

2013 WL 3943495, *2 (D.D.C. July 31, 2013) (same) (citing Vista Healthplan v. Warner

Holdings Co. III, 246 F.R.D. 349, 357 (D.D.C. 2007)).

       A “presumption of fairness, adequacy and reasonableness may attach to a class settlement

reached in arm’s length negotiations between experienced, capable counsel after meaningful

discovery.” In re Vitamins Antitrust Litig., 305 F. Supp. 2d 100, 104 (D.D.C. 2004). While the

court generally has discretion to decide whether to approve or reject a proposed settlement, the

court’s decision is constrained by the “principle of preference” favoring and encouraging

settlements in appropriate cases. Id. at 103 (quoting Pigford v. Glickman, 185 F.R.D. 82, 103

(D.D.C. 1999)). It is well established that there is an overriding public interest in settling and

quieting litigation, particularly in the context of a class action. See Cotton v. Hinton, 559 F.2d

1326, 1331 (5th Cir. 1977); see also Newberg on Class Actions § 11:41, at 87 (4th ed. 2002)

(“The compromise of complex litigation is encouraged by the courts and favored by public

policy.”); In re U.S. Oil & Gas Litig., 967 F.2d 489, 493 (11th Cir. 1992) (“Public policy

strongly favors the pretrial settlement of class action lawsuits”).       Under this Agreement,


in individually controlling the prosecution of separate actions, and that resolution on a class wide
basis will promote judicial economy and efficiency.”); see also id. at ¶ 4 (“The Court further
finds that this conditional class certification is appropriate pursuant to Federal Rule of Civil
Procedure 23(b)(3), because questions of law and/or fact common to members of the Settlement
Class predominate over any questions affecting only individual members, and a class action is
superior to other available methods for fairly and efficiently adjudicating this controversy.”).

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members of the Settlement Class who submit valid claims are ensured a benefit, as opposed to

“the mere possibility of recovery at some indefinite time in the future.” See In re Domestic Air

Transport, 148 F.R.D. 297, 306 (N.D. Ga. 1993).

        In determining whether a proposed settlement is “fair, adequate, and reasonable and not

the product of collusion between the parties,” courts look to a number of factors, including: “(1)

whether the settlement is the result of arm’s-length negotiations; (2) the terms of the settlement

in relation to the strength of Plaintiffs’ case; (3) the stage of the litigation proceedings at the time

of settlement; (4) the reaction of the class; and (5) the opinion of experienced counsel.”

Hubbard, 2013 WL 3943495, at *2 (quoting Vista Healthplan, 246 F.R.D. at 360); Schweizer,

supra, at *8 (same) (quoting In re LivingSocial Mktg. & Sales Practice Litig., 2013 WL

1181489, *7 (D.D.C. Mar. 22, 2013)).

        As discussed fully herein, a review of these factors clearly demonstrates that the

Agreement is fair, reasonable, adequate, and should be finally approved.

                a. The Settlement is the Result of Arm’s Length Negotiations

        A “presumption of fairness, adequacy, and reasonableness may attach to a class

settlement reached in arms’ length negotiations between experienced, capable counsel after

meaningful discovery.” In re Vitamins Antitrust Litig., 305 F. Supp. 2d at 104 (quoting Manual

for Complex Litig., at § 30.42). Here, the Agreement was executed only after over twelve (12)

months of wide-ranging discovery and contentious litigation, followed by several more months

of extensive negotiations among experienced counsel, all of whom have devoted considerable

time and effort to this litigation and settlement. Moreover, the Agreement was reached with the

assistance of Hon. Morton Denlow (Ret.), a former judge and neutral, third-party mediator with

particular and significant experience and expertise regarding the litigation and settlement of




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actions brought under the TCPA. The Parties were able to reach this resolution only after

formal, in-person attempts at mediation, as well as several months of continuing negotiations

between counsel.

        Accordingly, this Court should presume that the settlement reached by the Parties is fair

and reasonable. See Equal Rights Center v. Washington Metropolitan Area Transit Authority,

573 F. Supp. 2d 205, 212 (D.D.C. 2008) (class action settlement presumed reasonable where the

parties engaged in six months of vigorous negotiations and the litigation was contentious); see

also Reed v. General Motors Corp., 703 F.2d 170, 175 (5th Cir. 1983) (“[T]he value of the

assessment of able counsel negotiating at arm’s length cannot be gainsaid. Lawyers know their

strengths and they know where the bones are buried.”); see also In re Inter-Op Hip Prosthesis

Liab. Litig., 204 F.R.D. 330, 351 (N.D. Ohio 2001) (“[W]hen a settlement is the result of

extensive negotiations by experienced counsel, the Court should presume it is fair.”); In re

NASDAQ Market-Makers Antitrust Litig, 176 F.R.D. 99, 102 (S.D.N.Y. 1997) (citing Manual for

Complex Litigation, Third, § 30.41 (West 1995)) (“Where the proposed settlement appears to be

the product of serious, informed, non-collusive negotiations, has no obvious deficiencies, does

not improperly grant preferential treatment to class representatives or segments of the class and

falls within the range of possible approval, preliminary approval is granted.”).

                b. The Terms of Settlement Reflect the Strength of the Parties’ Positions and the
                   Risks of Continued Litigation

        The Parties jointly submit that the proposed settlement is in the best interests of their

respective clients and the Settlement Class as a whole, and strikes a reasonable balance between

the benefits the Settlement Class will receive under this settlement, the fact that Defendant will

vigorously oppose the claims asserted in the litigation if the settlement is not approved, and the

attendant risks, costs, uncertainties and delays of litigation.


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       In evaluating a proposed class action settlement, the benefits to the class members must

be “considered in juxtaposition with the risks attendant to continued litigation of this matter.”

Schweizer, supra, at *12 (quoting In re LivingSocial Mktg., 2013 WL 1181489, at *9). Here, the

settlement should be approved because both Parties recognize the substantial risks of proceeding

with the litigation, and the costs in doing so. The parties have extensively analyzed the strengths

and weaknesses of their respective positions and the risks, time, and costs of continued litigation,

and have determined that there is a material risk that continued litigation would result in a less

favorable outcome for the Class Members or increased liabilities for Defendant.

       The litigation in this matter has been intensive and hard-fought. Although disputed by

Plaintiff, Defendants deny that VSS or any other third-party lead generators had actual or

apparent authority to place calls on Defendants’ behalf, and further deny that Defendants would

have liability for the actions of those sales agents who used such lead generation services, or that

those sales agents would have liability for VSS’s telemarketing practices. Although disputed by

Plaintiff, Defendant has further asserted that Defendants’ corporate policies expressly prohibit

the use of outside lead generation, and that Defendants’ sales agents utilized VSS’s

telemarketing services without Defendants’ knowledge or consent.

       Moreover, both Parties acknowledge that certain aspects of the TCPA and its

implementing regulations have been the subject of extensive recent discussion and regulatory

activity from the FCC. This regulatory uncertainty similarly favors resolution. See, e.g., In re

Capital One Tel. Consumer Prot. Act Litig. (In re Capital One), 2015 U.S. Dist. LEXIS 17120,

790-92 (N.D. Ill. Feb 12, 2015) (discussing the “disparate interpretations” of the FCC’s TCPA

orders, and noting that “the split opinion among practitioners and courts … injects uncertainty

into the litigation” and counsels in favor of settlement); Wilkins v. HSBC Bank Nev., N.A., 2015




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U.S. Dist. LEXIS 23869, 21 (N.D. Ill. Feb. 27, 2015) (approving TCPA class settlement in part

because uncertainty regarding the TCPA “will continue to add significant risk to large TCPA

litigation” favoring settlement of such claims).

       While Plaintiff and Class Counsel believe that the violations of the TCPA alleged in this

matter are clear, and are confident in the merits of their claims, Defendants vehemently dispute

this contention. Both Plaintiff and Class Counsel acknowledge that litigation is inherently

unpredictable, and that any adverse ruling on legal issues raised by the Defendants during the

litigation of this matter, including, but not limited to, the propriety of class certification, legal

standing of the Representative Plaintiff, the possibility of regulatory action from the FCC

adverse to Plaintiff’s position, the proper interpretation and effect of the TCPA’s implementing

regulations, and agency, would functionally deny the class any and all relief. On the other hand,

if the class was to be certified, and Plaintiffs prevailed at trial, the potential damages would

amount to a significant liability.

       As a result of discovery, both Class Counsel and counsel for Defendants had ample

foundation upon which to evaluate the proposed settlement. Each Party, therefore, possessed the

necessary information to evaluate the strengths and weaknesses of their respective cases in order

to discuss settlement effectively. Armed with this information, the Parties were able to reach the

present settlement only after extensive motion practice, discovery, lengthy settlement

discussions, and further negotiations over settlement terms and language. As such, the Parties

jointly assert that the uncertainty of these legal issues makes resolution via settlement desirable,

and that the attached Agreement represents a fair, reasonable, and adequate resolution that is in

the best interests of all Parties and the Settlement Class.




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               c. Settlement was only Reached after Substantial and Vigorous Litigation and
                  Negotiation

       Settlement should come at a time when counsel has “sufficient information to adequately

assess the risks of [continued] litigation.” In re Lorazepam & Clorazepate Antitrust Litig., MDL

No. 1290, 2003 WL 22037741, at *5 (D.D.C. June 16, 2003); see also Meijer, Inc. v. Warner

Chilcott Holdings Co. III, Ltd., 565 F. Supp. 2d 49, 57-58 (D.D.C. 2008). Here, given that this

settlement was reached after nearly two (2) years of vigorously contested litigation, this factor

favors approval. See In re Lorazepam, 2003 WL 22037741, at *5 (approval appropriate where

the parties had engaged in “substantial and vigorous litigation”).     Further, due to the unique

factual circumstances of this case, and the numerous legal issues that have arisen out of those

circumstances, the Parties submit that this reasonableness factor particularly favors approval of

the Parties’ negotiated compromise.

       Following significant pre-suit investigation by the Representative Plaintiff that included

multiple phone calls and an in-person visit with one of Defendants’ employees, Plaintiff alleges

that wide-ranging discovery has revealed that the Robocall that Plaintiff alleges he received was

placed at the behest of a sales agent of Defendants by VSS, an entity that, at the time, operated a

now-defunct call center out of the Philippines, in order to solicit interest in solar energy without

initially disclosing Defendants’ identity, and to schedule appointments with Defendants’ sales

representatives. See Ex. 1 at ¶ 4. Plaintiff also alleges that discovery has revealed that many of

Defendants’ employees, ranging from salespersons to Regional Directors, were using VSS’s

robocalling services, resulting in the Robocalls made to the Class in order to set appointments for

Defendants and their employees, and that these employees were involved in many facets of

VSS’s marketing efforts, including selecting the zip codes to which calls were placed, mandating

the times and dates during which sales appointments could be set, dictating the prequalification


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information that VSS’s agents were to obtain from the called parties, and helping to generate the

information used in the Robocalling scripts. Id. at ¶ 5. Finally, Plaintiff believes that discovery

has also revealed that the calls at issue were placed using an Automated Telephone Dialing

System (ATDS) with the use of Avatar/Soundboard technology, which Plaintiff alleges

constitutes a prerecorded voice under the TCPA. Id. at ¶ 6.

       In order to obtain this information, Plaintiff and Class Counsel had to engage in

significant investigation and formal discovery efforts, which included not only the typical

exchange of documents and preparation and responses to requests for production of documents

and interrogatories, but also extraordinary efforts to determine the identity of the overseas

Robocaller, the specific equipment used to place the Robocalls at issue, and, to the extent

possible, the identity of the members of the class. Id. at ¶ 7. These extraordinary efforts

included the deposition and informal interview of dozens of current and former representatives

of Defendants as well as their contacts at VSS; the use of investigative teams and local attorneys

in both the United States and in the Philippines in order to identify and locate Defendants’ sales

agents’ overseas contacts as well as the relevant principals of VSS and the operator of the

overseas call center at issue; and the issuance of subpoenas on numerous relevant third parties,

including banks, credit card companies, and a number of shell corporations designed to hide

VSS’s identity, in an effort by Plaintiff and Class Counsel to trace payments made by

Defendants’ employees to relevant third parties. Id. at ¶ 8. Moreover, while discovery initially

revealed that the records associated with Defendants’ sales agents’ use of VSS and its

Robocalling services had either been destroyed or were located in the Philippines and were thus

inaccessible subsequent to the dissolution of VSS, Plaintiff contends that these extraordinary

discovery efforts nonetheless resulted in the production of unique identifying information for




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approximately 66,000 individuals, produced by the former operator of the VSS’s call center in

the Philippines, who were called through a portion of VSS’s marketing efforts on behalf of

Defendants during a specific time frame for which records were still available. Id. at ¶ 9.

       Defendants vehemently dispute these allegations. As noted above, Defendants deny that

VSS or any other third-party lead generators had any actual or apparent authority to place calls

on Defendants’ behalf, and further deny that Defendants would have any liability for the actions

of those sales agents who used such lead generation services, or that those sales agents would

have liability for VSS’s telemarketing practices. Id. at ¶ 18. Defendant has further asserted that

Defendants’ corporate policies expressly prohibit the use of outside lead generation, and that

Defendants’ sales agents utilized VSS’s telemarketing services without Defendants’ knowledge

or consent. Id.

       The Parties submit that there has been more-than-sufficient factual development in this

case to allow the Parties to make a meaningful decision as to settlement, and that each Party

therefore possessed the necessary information to evaluate the strengths and weaknesses of their

respective cases in order to discuss settlement effectively.

                  d. The Reaction of the Class Warrants Approval

       The reaction of the Settlement Class also favors approval. Given the unique factual

circumstances of the case as detailed above, the Parties went above and beyond in their class

notification efforts in order to reach as many potential Class Members as possible. This included

direct mail notice to the 65,979 persons that were identifiable from limited records obtained in

discovery, as well as a robust, 60-day nationwide media and publication notice campaign

including the purchase of 340 million online impressions designed to reach other class members.

See Ex. 2 at ¶¶ 6-9.




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       As a result of these efforts, the Parties received 39,891 timely, valid, and non-fraudulent

claims and zero objections. Id. at ¶¶ 16, 18. The absence of any meaningful objection by class

members – here, the complete absence – is one of the most important factors in evaluating the

fairness, reasonableness and adequacy of the settlement and supports approval of the settlement.

See Figueroa v. Sharper Image Corp., 517 F. Supp. 2d 1292, 1328 (S.D. Fla. 2007) (citations

omitted) (“The reaction of the class is an important factor in gauging whether a settlement is fair,

reasonable and adequate. While a low percentage of objections points to the reasonableness of a

proposed settlement, a high percentage of objections signals that a proposed settlement is not fair

or reasonable.”); Association for Disabled Americans v. Amoco Oil Co., 211 F.R.D. 457, 467

(S.D. Fla. 2002) (“[a] small number of objectors from a plaintiff class of many thousands is

strong evidence of a settlement’s fairness and reasonableness.”); Austin v. Pennsylvania Dept. of

Corrections, 876 F. Supp. 1437, 1458 (E.D. Pa. 1995) (“Because class members are presumed to

know what is in their best interest, the reaction of the class to the Settlement Agreement is an

important factor for the court to consider.”).

       Moreover, the 39,891 timely, valid, and non-fraudulent claims received constitutes a final

claims rate that is well above the acceptable range for claims submissions in other TCPA cases,

including those seen by the Settlement Administrator and supported by the relevant law, also

supporting approval. See Rogan Decl., Exhibit 2 at ¶ 19 (“[A]pproximately 7.98% of the Class

Members filed valid claims and are preliminarily approved for payment. This claims rate is well

within the range of other similar TCPA settlements that KCC has administered.”); see also Drug

Reform Coordination Network, Inc. v. Grey House Publishing, Inc., No. 1:14-cv-00701 (D.D.C.

February 10, 2017), Docket No. 62 (grating final approval with a 2.2% claims rate); Bayat v.

Bank of the West, 2015 U.S. Dist. LEXIS 50416, *15-16, 2015 WL 1744342 (N.D. Cal. Apr. 15,




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2015) (granting final approval with a 1.9% claims rate”); id. (citing Arthur v. SLM Cor., No.

C10-0198 JLSR (W.D. Wash. Aug. 8, 2012), Docket No. 249 at 2-3 (claims rate of

approximately 2%)); Barani v. Well Fargo Bank, N.A., No. 12-cv-02999, Dkt. 32 at *5-6 (S.D.

Cal. Mar. 6, 2015) (granting approval of 1.17% claims rate).

               e. The Parties’ Counsel Believe That The Settlement Is Fair And Reasonable

       The opinion of experienced counsel “should be afforded substantial consideration by a

court in evaluating the reasonableness of a proposed settlement.” In re Lorazepam, 2003 WL

22037741 at *6; see also Radosti, 717 F. Supp. 2d at 57. Counsel for the class have substantial

experience litigating TCPA class actions, and significant experience litigating class action

matters of similar size, scope, and complexity to the instant action. See Ex. 1 at ¶ 16. Counsel

strongly believe and represent that, given the risks attendant to further litigation, the terms of the

proposed settlement are fair and reasonable and in the best interest of the class. See Equal Rights

Center, 573 F. Supp. 2d at 213.

       As discussed more fully above, this case presented unique and complicated factual and

legal issues. On one hand, Plaintiff alleges that the results of his wide-ranging discovery

uncovered many of Defendants’ employees who were using VSS’s Robocalling services,

resulting in the Robocalls made to the Settlement Class on Defendant’s behalf, and that those

Robocalls were made using a prerecorded voice and software that constitutes an ATDS. Id. at ¶

18. Moreover, although the Parties acknowledge that many relevant records in the case may

have either been destroyed, are located internationally, or are no longer available due to the

dissolution of VSS, Plaintiff alleges that, at a minimum, he has identified approximately 66,000

individuals who were Robocalled in this fashion. Id. at ¶ 9.




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       On the other hand, Defendants contend that they have significant legal authority that

neither VSS nor any other third-party lead generators would be found to have actual or apparent

authority to act on Defendants’ behalf, and that if Defendants’ sales agents were utilizing VSS’s

services, Defendants had no knowledge whatsoever of such conduct. Id. at ¶ 18. If these

arguments prevailed at trial in this matter, the Class could be denied any and all relief;

conversely, if the class was to be certified over Defendants’ objections, and Plaintiff prevailed at

trial, the potential exposure for Defendants could be tremendous.

       Finally, during the pendency of and subsequent to the Claims Period, both Parties and the

Settlement Administrator worked in tandem in order to ensure that submitted claim forms were

valid, non-duplicate, and non-fraudulent, ensuring that legitimate Class Members receive as

much as possible from the Settlement Fund. Id. at ¶ 15. As detailed more fully in the attached

Declaration of Karen Rogan, this included the screening of all claims for certain indicia of fraud

as developed by KCC over the course of the thousands of settlements that they have

administered, including, but not limited to, multiple claims with different physical addresses but

identical, non-public IP addresses, as well as claims submitted from identical IP addresses that

utilize special characters in order to avoid fraud detection. See Ex. 3 at ¶ 15. Moreover,

subsequent negotiations between counsel for the Parties and the Settlement Administrator

subsequent to the close of the Claims Period resulted in a nearly $25,000 reduction in the cost of

administration; funds that will be directly used to increase each Class Member’s individual

payout. See Ex. 1 at ¶ 15.

       Rather than face the significant risks attendant to further litigation, particularly given the

unique factual and legal circumstances of this case, the certainty of the final amount payable to

each Settlement Class Member provides certain recovery to Class Members who would




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otherwise be unlikely to recover individual relief. Pursuant to the Parties’ Agreement, each

Class Member who submitted a timely and valid claim form will receive an initial distribution of

approximately $8.36. See Ex. 3 at ¶ 19. The Settlement Administrator will then make a second

pro rata distribution of remaining Class Settlement funds after the return of un-cashed checks

from the initial distribution, increasing each Class Member’s individual payout. See id. As such,

while the final amount payable to Class Members will not be known until after final approval has

been granted by the Court and the Settlement Administrator has administered the first round of

distributions, it is certain to be above the amount provided in the Parties’ initial distribution,

which equals or exceeds amounts approved by courts in analogous TCPA cases, and should be

similarly approved here. See, e.g., Mahoney v. TT of Pine Ridge, Inc., Case No. 17-80029-CIV,

2017 U.S. Dist. 13 LEXIS 217470, at *18 (S.D.Fla. Nov. 17, 2017) (giving final approval to

TCPA settlement where class members were given a $4.00 cash award); States of New York &

Maryland v. Nintendo of Am., Inc., 775 F. Supp. 676, 681 (S.D.N.Y. 1991) (approving a

settlement awarding each class member a $5.00 coupon); Maxwell Goldschmidt v. Rack Room

Shoes, Inc., Case No. 1:18-cv-21220-KMW (S.D. Fla. 2020) (approving a settlement awarding

each class member a cash award of $5.00); Wilkins v. HSBC Bank Nevada, N.A., 2015 U.S. Dist.

LEXIS 23869 (N.D. Ill. Feb. 27, 2015) (approving settlement of $2.95 per class member).

       C.      The Class Counsel and Class Representative Awards are Fair and
               Reasonable

               i.     Class Counsel Award

       The Supreme Court has recognized that “a reasonable fee is based on the percentage of

the fund bestowed on the class.” Blum v. Stenson, 465 U.S. 886, 900 (1984); see also Boeing

Co. v. Van Gemert, 444 U.S. 472, 478 (1980) (Since the 1880s, “this Court has recognized

consistently that a litigant or lawyer who recovers a common fund for the benefit of persons


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other than himself or his client is entitled to a reasonable attorney’s fee from the fund as a

whole.”); In re Dep’t of Veterans Affairs (VA) Data Theft Litig., 653 F. Supp. 2d 58 (D.D.C.

2009) (“In [the D.C.] Circuit, the ‘percentage-of the fund method [rather than the lodestar

method] is the appropriate mechanism for determining the attorney fee award in common fund

cases.’”); Waters, 190 F.3d at 1297 (“[T]he Supreme Court settled this question by ruling that

class counsel are entitled to a reasonable fee based on the funds potentially available to be

claimed, regardless of the amount actually claimed.”).

       Awards of attorneys’ fees based on a percentage of the total Settlement Fund, such as

here, serve the dual purpose of encouraging redress of damages caused to an entire class of

persons, and discouraging similar future misconduct:

       [C]ourts … have acknowledged the economic reality that in order to encourage
       ‘private attorney general’ class actions brought to enforce the [laws] on behalf of
       persons with small individual losses, a financial incentive is necessary to entice
       capable attorneys, who otherwise could be paid regularly by hourly-rate clients, to
       devote their time to complex, time-consuming cases for which they may never be
       paid.

Mashburn v. Nat’l Healthcare, Inc., 684 F. Supp. 679, 687 (M.D. Ala. 1988); Swedish Hosp.

Corp. v. Shalala, 1 F.3d 1261 (D.C. Cir. 1993) (“This Court has reiterated the Supreme Court’s

warning that ‘[a] request for attorney’s fees should not result in a second major litigation.’ … It

is much easier to calculate a percentage-of-the-fund fee than to review hourly billing practices

over a long, complex litigation.”).

       The percentage of the Class Settlement Fund that Defendant has agreed to pay to Class

Counsel as reimbursement for fees and costs reflects the significant efforts put forth by Class

Counsel throughout its vigorous prosecution of this matter and is consistent with the nationwide

33% standard in similar class settlements. See, e.g., In re Dep’t of Veterans Affairs (VA) Data

Theft Litig., 653 F. Supp. 2d 58, 61 (D.D.C. 2009) (“Fees in [the D.C.] Circuit mirror the


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nationwide numbers”); Wolff v. Cash, 2012 U.S. Dist. LEXIS 153786, 15-16 (S.D. Fla. Sept. 26,

2012) (“The average percentage award in the Eleventh Circuit mirrors that of awards

nationwide—roughly one-third.”) (citing Waters v. Int'l Precious Metals Corp., et al., 190 F.3d

1291, 1291 (11th Cir. 1999)) (awarding one-third on a $40 million recovery in line with

nationwide averages); Goans Acquisition, Inc., Case No. 0931-cv-17797 (approving class

counsel award of one-third of settlement fund ($2,076,666.66) in TCPA case); see also In re

Lorazepam & Clorazepate Antitrust Litig., 2003 U.S. Dist. LEXIS 12344, 2003 WL 22037741

(D.D.C. June 16, 2003) (approving class counsel award of 30%).4

               ii.     Class Representative Award

       As noted above, throughout this case and prior to its filing, the Representative Plaintiff

has expended substantial time and effort on behalf of the Settlement Class and to its benefit. See

Ex. 1 at ¶ 17. Mr. Rogers performed the initial investigation that led to the identification of

Defendants and the discovery of the telemarketing practices that underlie this lawsuit, which

included an in-person meeting with a sales representative of Defendants and subsequent

investigation and research. Id. Throughout discovery, Mr. Rogers sat for a deposition, reviewed

deposition testimony and records obtained by Plaintiff’s counsel, and responded to

Interrogatories and Requests for Production of Documents. Id. Throughout the Parties’ attempts




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  Class Counsel’s requested fee award is also fair, reasonable and adequate under the Fifth
Circuit’s factors for evaluating a reasonable percentage award, as noted by the D.C. Circuit in
Swedish Hosp. Corp. See Swedish Hosp. Corp. 1 F.3d at 1266 (Holding that courts may consider
any of the following factors: “(1) the time and labor required; (2) the novelty and difficulty of the
questions involved; (3) the skill requisite to perform the legal service properly; (4) the preclusion
of other employment by the attorney due to acceptance of the case; (5) the customary fee; (6)
whether the fee is fixed or contingent; (7) time limitations imposed by the client or the
circumstances; (8) the amount involved and the results obtained; (9) the experience, reputation,
and ability of the attorneys; (10) the “undesirability” of the case; (11) the nature and length of the
professional relationship with the client; and (12) awards in similar cases.”).

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at settlement, Mr. Rogers was consulted and had input in the eventual successful negotiation of

favorable terms for Settlement Class members. Id.

       Plaintiff’s incentive award promotes a public policy of encouraging individuals to

undertake the responsibility of representative lawsuits, and reflects the time, cost, and effort that

Plaintiff has committed to this matter in order to bring relief to the class and is comparable to

similar incentive awards in TCPA cases. See, e.g., Benzion v. Vivint, Inc., No. 12-cv-61826-

WJZ, 2015 U.S. Dist. LEXIS 179532 (S.D. Fla. Feb. 23, 2015) (ECF No. 201) (awarding

$20,000 incentive award in TCPA class settlement); In re Dun & Bradstreet Credit Servs.

Customer Litig., l30 F.R.D. 366, 374 (S.D. Ohio 1990) (awarding two incentive awards of

$55,000 and three incentive awards of $35,000); Bogosian v. Gulfoil Corp., 621 F. Supp. 27, 32

(E.D. Pa. 1985) (incentive awards of $20,000 to each of two plaintiffs).

       The Parties thus request that the Court award Plaintiff the amount of $20,000 in support

of its active service as Class Representative, as detailed in the Agreement and as preliminarily

approved by this Court. Class representative payments “compensate named plaintiffs for the

services they provided and the risks they incurred during the course of the class action

litigation.” Allapattah Services, Inc. v. Exxon Corp., 454 F. Supp. 2d 1185, 1218 (S.D. Fla.

2006); see also Ingram v. Coca-Cola, Co., 200 F.R.D. 685, 694 (N.D. Ga. 2001) (same).

“[T]here is ample precedent for awarding incentive compensation to class representatives at the

conclusion of a successful class action.” David v. American Suzuki Motor Corp., 2010 WL

1628362, 6 (S.D. Fla. 2010); Altamonte Springs Imaging v. State Farm Mutual Automobile

Insurance Co., 12 So. 3d 850, 857 (Fla. 3d DCA 2009) (“The position as fiduciary for the class

is less an honor than a headache. The representative plaintiff is identified as a class litigant in

public records (potentially affecting credit reports and disclosures for financing), is subject to




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fiduciary duties to the class, may be deposed and required to produce records, and must meet

with counsel and appear in court.”).

       As such, and in light of the above, the Parties jointly request that this Court find that the

Class Counsel and Class Representative awards, as outlined in the Agreement and as

preliminarily approved by this Court, are fair, reasonable and adequate, and enter them as part of

the final judgment in this case.

                                       IV.   CONCLUSION

       WHEREFORE, for all of the foregoing reasons, the Parties jointly request the Court’s

entry of an Order and Final Judgment:

       (1) granting final approval of the proposed settlement as set forth in the Agreement;5

       (2) certifying the Settlement Class pursuant to Rule 23(a) and (b)(3), Federal Rules of

Civil Procedure;

       (3) approving payments to the Settlement Class, Class Counsel and Class Representative

as set forth in the Agreement;

       (4) approving payment to the Class Administrator as set forth in the Agreement;

       (5) dismissing the action; and

       (6) providing such other and further relief as the Court deems just and reasonable.




5
 Pursuant to the Agreement, if approved, Defendants have agreed to deposit the $975,000 into an
interest bearing account held by the Settlement Administrator within thirty (30) days after entry
of the Final Approval Order by this Court. Due to significant delays caused by the COVID-19
pandemic and stay-at-home orders, Defendants have requested sixty (60) days within which to
deposit the necessary funds. Plaintiff has no objection to this request. As such, the Parties
request that the Court delay the effective date of its Final Approval Order by thirty (30) days, in
order to provide Defendant with the requested time and allow the Parties to remain in
compliance with the Agreement. If granted, the Parties agree that such a modification does not
constitute a substantive change of any material term of the Agreement.

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                                   Respectfully submitted:


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                                                     Attorneys for Defendants

                                                     By: s/ Steven A. Augustino   .
                                                           Steven A. Augustino



                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of the

Court using the CM/ECF system, on this 22nd day of May, 2020, which will send a notice of

electronic filing to all attorneys of record.

                                                     By: /s/ Shawn A. Heller
                                                         Shawn A. Heller, Esq.




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